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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative          CASE NO.: 9:18-cv-80176-BB/BR
   of the Estate of David Kleiman, and W&K Info
   Defense Research, LLC

          Plaintiffs,

   v.

   CRAIG WRIGHT

          Defendant.

                               PLAINTIFFS’ MOTION TO SEAL

         Plaintiffs are filing their Omnibus Sanctions Motion. The motion references certain

  information and documents that Defendant has designated confidential under this Court’s

  Stipulated Confidentiality Order. While Plaintiffs do not believe the information should remain

  confidential, Plaintiffs are filing this motion to seal to comply with the Stipulated Confidential

  Order and the Local Rules of this Court.

                              S.D. FLA. L.R. 7.1 CERTIFICATION

         In accordance with S.D. Fla. L.R. 7.1(a)(3), counsel for Plaintiffs conferred with

  Defendant’s counsel who we understand wants the information sealed.



   Dated: May 15, 2020                       Respectfully submitted,

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                                          Counsel to Plaintiffs Ira Kleiman as
                                          Personal Representative of the Estate of
                                          David Kleiman and W&K Info Defense Research, LLC

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 15, 2020, a true and correct copy of the foregoing was
  filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                    /s/ Velvel (Devin) Freedman
                                                    Velvel (Devin) Freedman




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